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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

JOHN P BOYD                                      §
                                                 §
     Plaintiff,                                  §
                                                 §
v.                                               §     Civil Action No. 4:21-CV-00732-O
                                                 §
MAHROUQ ENTERPRISES                              §
INTERNATIONAL (MEI) INC
                                                 §
     Defendant.                                  §


                                      SCHEDULING ORDER

I.       SUMMARY OF CRITICAL DATES

 Deadline for Motions for Leave to Join Parties December 20, 2021
 or Amend Pleadings (¶ 2)
 Initial Expert Designation & Report (¶ 4 a.)        March 7, 2022
 Responsive Expert Designation & Report (¶ 4         April 4, 2022
 b.)
 Rebuttal Expert Designation (¶ 4 c.)                30 days after disclosure made by other party
 Expert Objections (¶ 4 d.)                          September 26, 2022
 Dispositive Motions (¶ 3)                           July 6, 2022
 Mediation (¶ 5)                                     May 4, 2022
 Completion of Discovery (¶ 6)                       June 3, 2022
 Pretrial Disclosures and Objections (¶ 7)           September 21, 2022. Objections due 14 days
                                                     thereafter.
 Pretrial Materials (pretrial order etc.)(¶ 8)       October 6, 2022
 Exchange of Exhibits (¶ 9)                          October 17, 2022
 Pretrial Conference (¶ 11)                          To be set if necessary.
 Trial Date (¶ 1)                                    October 31, 2022




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II.      SCHEDULING INSTRUCTIONS

         Pursuant to Rule 16(b) of the Federal Rules of Civil Procedure and the local rules of this

Court (except as modified herein), the Court, having considered the status report submitted by

the parties, finds that the following schedule should govern the disposition of this case:

         Unless otherwise ordered or specified herein, all limitations and requirements of the

Federal Rules of Civil Procedure and the local rules of this Court must be observed.

         Please note that the Court has attempted to adhere to the schedule requested by the

parties. In so doing, the Court assumes that the parties thoroughly discussed scheduling

issues prior to submitting their status report and that the parties understand that the

deadlines imposed in this Order are firmly in place, absent the few exceptions set forth

below.

         1.     Trial Date: This case is set for trial on this Court’s four-week docket beginning

                October 31, 2022. Counsel and the parties shall be ready for trial on two days’

                notice at any time during this four-week period.

         2.     Joinder of Parties or Amendment of Pleadings: By December 20, 2021, all

                motions requesting joinder of additional parties or amendments of pleadings

                shall be filed.

         3.     Dispositive Motions: By July 6, 2022, all motions that would dispose of all or

                any part of this case (including motions for summary judgment) shall be filed.

         4.     Experts:

                a. Initial Designation of Expert(s): Unless otherwise stipulated or directed by
                order, the party with the burden of proof on the issue subject to the expert
                designation shall file a written designation of the name and address of each
                expert witness who will testify at trial for that party and shall otherwise comply
                with Rule 26(a)(2) of the Federal Rules of Civil Procedure on or before March 7,



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         2022. (Unless otherwise noted, all references to Rules in this Order shall refer to
         the Federal Rules of Civil Procedure.)

         b. Responsive Designation of Expert(s): Each party without the burden of
         proof on the issue subject to expert designation shall file a written designation of
         the name and address of each expert witness who will testify at trial for that party
         and shall otherwise comply with Rule 26(a)(2) on or before April 4, 2022.

         c. Rebuttal Expert(s): If the evidence is intended solely to contradict or rebut
         evidence on the same subject matter identified by another party under Rule
         26(a)(2)(B), the disclosures required under Rule 26(a)(2) shall be made within 30
         days after the disclosure made by the other party.

         d. Challenges to Experts: The parties are directed to file any objections to, or
         motions to strike or exclude expert testimony (including Daubert motions), no
         later than September 26, 2022. No challenges to experts shall be filed prior to
         July 6, 2022 without obtaining leave of court.

   5.    Mediation Deadline: The parties shall jointly select a mediator and mediate on

         or before May 4, 2022. Within seven days after the mediation, the parties shall

         jointly prepare and file a written report, which shall be signed by counsel for

         each party, detailing the date on which the mediation was held, the persons

         present (including the capacity of any representative), and a statement informing

         the Court of the effect of their mediation and whether this case has been settled by

         agreement of the parties.

   6.    Completion of Discovery: By June 3, 2022, all discovery—including discovery

         concerning expert witnesses—shall be completed.         The parties may agree to

         extend this discovery deadline, provided (a) the extension does not affect the trial

         setting, dispositive motions deadline, challenges to experts deadline, or pretrial

         submission dates; and (b) written notice of the extension is given to the Court.

   7.    Pretrial Disclosures and Objections: Unless otherwise directed by order, the

         parties must make the disclosures required by Rule 26(a)(3)(A)-(B) by



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                September 21, 2022. With respect to the identification of witnesses who will be

                called by deposition, the parties must also identify the portions of the deposition

                transcript that they intend to use. (Modification of Rule 26(a)(3)(A)(ii)). Within

                14 days thereafter, a party must serve and file a list disclosing any objections,

                together with the grounds therefor, to: (a) the use under Rule 32(a) of a deposition

                designated by another party under Rule 26(a)(3)(A)(ii); (b) the admissibility of

                materials identified under Rule 26(a)(3)(A)(iii); and (c) the use of any witnesses

                (except for expert objections) identified under Rule 26(a)(3)(A)(i)1, if any.

                Objections not so disclosed, other than objections under Rules 402 and 403 of the

                Federal Rules of Evidence, are waived unless excused by the Court for good

                cause.

        8.      Pretrial Materials: By October 6, 2022 except as otherwise noted below, all

                pretrial materials shall be filed. Specifically, by this date:

                a. Pretrial Order: A joint pretrial order shall be submitted by the Plaintiff's
                attorney which covers each of the matters listed in Local Rule 16.4 and which
                states the estimated length of trial. If an attorney for either party does not
                participate in the preparation of the joint pretrial order, the opposing attorney shall
                submit a separate pretrial order with an explanation of why a joint order was not
                submitted (so that the Court can impose sanctions, if appropriate). Each party
                may present its version of any disputed matter in the joint pretrial order; therefore,
                failure to agree upon content or language is not an excuse for submitting
                separate pretrial orders. (Modification of Local Rule 16.4). When the joint
                pretrial order is approved by the Court, it will control all subsequent proceedings
                in this case. If submitted on paper, the parties must submit the original and one
                copy of the proposed pretrial order (styled as the “Pretrial Order”) directly to the
                Court’s chambers. Do not file it with the clerk. The Court will direct the clerk to
                file it after the Court signs it. The proposed pretrial order must be transmitted to
                the      electronic   address     used     for    receipt     of   proposed     orders
                (o’connor_orders@txnd.uscourts.gov) no later than October 10, 2022.


        1
          Requiring parties to file objections to witnesses disclosed under Rule 26(a)(3)(A)(i) is a
modification of the requirements of Rule 26(a)(3)(B), which only requires that the parties file objections
to deposition designations (Rule 26(a)(3)(A)(ii)) and exhibits (Rule 26(a)(3)(A)(iii)).

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               b. Witness List: A list of witnesses shall be filed by each party, which divides
               the persons listed into groups of “probable witnesses,” “possible witnesses,”
               “experts,” and “record custodians” and which provides:

                       (i) the name and address of each witness;

                       (ii) a brief narrative summary of the testimony to be covered by each

                       witness;

                       (iii) whether the witness has been deposed; and

                       (iv) the expected duration of direct or cross-examination of the witness.2

                       The Witness list will include three columns. The first column will contain
                       a brief statement of the subject matter to be covered by a particular
                       witness. The second column will bear the heading “Sworn” and the third
                       column will bear the heading “Testified” so that the Court can keep track
                       of the witnesses at trial.

                       If any witness needs an interpreter, please note this on the witness list. It
                       is the obligation of the party offering such a witness to arrange for an
                       interpreter to be present at trial.

                       (Modification of Local Rule 26.2(b))


               c. Exhibit List and Deposition Testimony Designations: A list of exhibits
               (including demonstrative exhibits) and a designation of portions of
               depositions to be offered at trial shall be filed by each party. The list of exhibits
               shall describe with specificity the documents or things in numbered sequence.
               The documents or things to be offered as exhibits shall be numbered by
               attachment of gummed labels to correspond with the sequence on the exhibit list
               and identify the party submitting the exhibit. (Modification of Local Rule
               26.2(b), (c)). Do not use letter suffixes to identify exhibits (e.g., designate them
               as 1, 2, 3, not as 1A, 1B, 1C). The Exhibit list will include two columns, one
               bearing the heading “Offered” and the other bearing the heading “Admitted.”

               Each party’s exhibit list shall be accompanied by a written statement, signed by
               counsel for each party and state that, as to each exhibit shown on the list,

       2
          Pursuant to Rule 16(c)(2)(O) and Section VII of the United States District Court for the
Northern District of Texas Civil Justice Expense and Delay Reduction Plan, the Court may impose a
reasonable limit on the time allowed for presenting evidence in this case. See Commentary - 1993
Amendment to the Federal Rules of Civil Procedure (court should ordinarily impose time limits only after
receiving appropriate submissions from the parties).

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                         (i) the parties agree to the admissibility of the exhibit; or

                         (ii) the admissibility of the exhibit is objected to, identifying the nature
                         and legal basis of any objection to admissibility and the name(s) of the
                         party or parties urging the objection.

                All parties shall cooperate in causing such statements to be prepared in a timely
                manner for filing with the exhibit lists. Counsel for the party proposing to offer
                an exhibit shall be responsible for coordinating activities related to preparation of
                such a statement as to the exhibit the party proposes to offer. This includes an
                obligation to make exhibits available for inspection in advance of the deadline for
                filing exhibit lists where a party needs to see exhibits to assess admissibility. The
                Court may exclude any exhibit offered at trial unless such a statement regarding
                the exhibit has been filed in a timely manner. In addition, objections not
                identified in the statement may be waived.

                A list of each party’s exhibits to which no objection will be lodged
                (preadmitted) must be submitted at the pretrial conference.3 The Court expects
                the parties to confer and agree to admit the majority of their exhibits prior to trial.

                d. Jury Charge: Requested jury instructions and questions (annotated)4
                shall be filed as set forth below. In order to minimize time after commencement
                of the trial in resolving differences in the language to be included in the Court’s
                charge to the jury:

                         (i)     Counsel for the Plaintiff shall deliver to counsel for Defendant by
                                 September 26, 2022 a copy of its proposed Court’s charge to the
                                 jury.

                         (ii)    Counsel for Defendant shall deliver to counsel for the Plaintiff by
                                 September 28, 2022 (A) a statement, prepared with specificity, of
                                 any objection his client had to any part of the proposed charge that
                                 counsel for Plaintiff has delivered pursuant to this paragraph and
                                 (B) the text of all additional instructions or questions his client
                                 wishes to have included in the Court’s charge to the jury. Each
                                 objection and each such request shall be accompanied by citations
                                 of authorities supporting defendant’s objection or request.

        3
           This does not change the sequential manner in which each side should number its exhibits. In
other words, a party should not separately number its exhibits into “objected to” and “unobjected to”
categories.
         4
           “Annotated” means that each proposed instruction shall be accompanied by citation to statutory
or case authority and/or pattern instructions. It is not sufficient to submit a proposed instruction without
citation to supporting authority.

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                (iii)   At 10:00 a.m. on September 30, 2022, the lead attorneys for the
                        parties to this action shall meet face-to-face at either (A) a
                        mutually agreeable place, or (B) at the office of counsel for the
                        Plaintiff located in Ft. Worth, Texas or within 50 miles of the Ft.
                        Worth Division of the Northern District of Texas, for the purposes
                        of (1) discussing, and trying to resolve, differences between the
                        parties as to language to be included in the Court’s charge to the
                        jury and (2) identifying areas of disagreement that cannot be
                        resolved. Such meeting shall be held for a sufficient length of time
                        for there to be a meaningful discussion of all areas of disagreement
                        and a meaningful attempt to accomplish agreement. Each attorney
                        shall cooperate fully in all matters related to such a meeting.

                (iv)    By 2:00 p.m. on October 3, 2022 counsel for Plaintiff shall file a
                        document titled “Agreed Charge” which in a single document shall
                        contain, in logical sequence, all language to be included in the
                        charge, including jury instructions and jury questions, about which
                        the parties do not have disagreement and all language either party
                        wishes to have included in the charge about which there is
                        disagreement. All language of the proposed charge about which
                        there is disagreement shall be (A) in bold face, (B) preceded by an
                        indication of the identity of the party requesting the language, and
                        (C) followed by a listing of citations of authorities in favor of and
                        in opposition to the proposed language. Objections may be waived
                        if not stated in the Agreed Charge.


         Plaintiff must also send, in a WordPerfect-compatible format, the Agreed Charge
         to: o’connor_orders@txnd.uscourts.gov and include the case number and the
         document number of the referenced motion in the subject line.

         e. Limited Number of Motions in Limine: Motions in limine should not be
         filed as a matter of course. If filed, counsel must file them with the Court and
         serve them on the opposing party by October 3, 2022. Responses must be filed
         with the Court and served on the opposing party by October 17, 2022. Replies to
         responses are not permitted except by leave of Court. Parties may file motions in
         limine on no more than TEN discrete topics (no subparts) that are actually in
         dispute. (good faith compliance with the conference requirements of Local Rule
         7.1 will help to narrow issues that are actually in dispute). Motions in limine that
         contain boilerplate requests, that exceed ten topics or that cover undisputed issues
         will be stricken.




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         f. Voir Dire: The parties shall file any proposed voir dire questions which the
         Court is requested to ask during its examination of the jury panel by October 11,
         2022.

         g. Trial Briefs: Trial briefs may be filed by each party. In the absence of a
         specific order of the Court, trial briefs are not required, but are welcomed. The
         briefing should utilize Fifth Circuit and/or Supreme Court authority or relevant
         state authority to address the issues the parties anticipate will arise at trial.

         NOTE: Deadlines in this order regarding pretrial materials are dates for filing or
         delivery, not mailing dates.

   9.    Exchange of Exhibits: No later than October 17, 2022, counsel for each party

         intending to offer exhibits shall exchange a complete set of marked exhibits

         (including demonstrative exhibits) with opposing counsel and shall deliver a set

         of marked exhibits to the Court’s chambers (except for large or voluminous

         items that cannot be easily reproduced).


   10.    Settlement Conference and Status Report:
         a. Settlement Conference: No later than October 17, 2022, the parties and their
         respective lead counsel shall hold a face-to-face meeting to discuss settlement of
         this case. Individual parties and their counsel shall participate in person, not by
         telephone or other remote means. All other parties shall participate by a
         representative or representatives, in addition to counsel, who shall have unlimited
         settlement authority and who shall participate in person, not by telephone or other
         remote means. If a party has liability insurance coverage as to any claim made
         against that party in this case, a representative of each insurance company
         providing such coverage, who shall have full authority to offer policy limits in
         settlement, shall be present at, and participate in, the meeting in person, not by
         telephone or other remote means. At this meeting, the parties shall comply with
         the requirements of Local Rule 16.3.

         b. Joint Settlement Report: Within seven days after the settlement conference,
         the parties shall jointly prepare and file a written report, which shall be signed
         by counsel for each party, detailing the date on which the meeting was held, the
         persons present (including the capacity of any representative), a statement
         regarding whether meaningful progress toward settlement was made, and a
         statement regarding the prospects of settlement.




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   11.   Pretrial Conference: A pretrial conference will be conducted, in person, if the

         Court determines such a conference is necessary.          If the Court anticipates

         imposing time limits on the presentation of evidence that significantly reduces the

         parties’ estimated trial length, the Court will schedule a pretrial conference and

         advise of such deadlines so that counsel will have reasonable notice of such

         limits. Lead counsel for each party must attend, or, if the party is proceeding pro

         se, the party must attend. Fed. R. Civ. P. 16 (c)(1) & (e). Lead counsel and pro se

         parties must have the authority to enter into stipulations and admissions that

         would facilitate the admission of evidence and reduce the time and expense of

         trial. Id. All pretrial motions not previously decided will be resolved at that time,

         and procedures for trial will be discussed. At the final pretrial conference, it

         should be possible to assign the specific date for trial during the four-week

         docket.   Telephone calls about the probable trial date prior to the final

         pretrial conference will not likely be beneficial to counsel or the Court staff.

   12.   Modification of Scheduling Order:          As addressed above, this Order shall

         control the disposition of this case unless it is modified by the Court upon a

         showing of good cause and by leave of court.            Fed. R. Civ. P. 16(b)(4).

         Conclusory statements will usually not suffice to show good cause, even if the

         motion is agreed or unopposed. Moreover, the Court does not grant motions to

         modify the scheduling order as a matter of course. Any request that the trial date

         of this case be modified must be made (a) in writing to the Court, (b) before the

         deadline for completion of discovery, and (c) in accordance with the United

         States District Court for the Northern District of Texas Civil Justice Expense



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         and Delay Reduction Plan ¶ V and Local Rule 40.1 (motions for continuance

         must be signed by the party as well as by the attorney of record).

   13.    Sanctions: Should any party or counsel fail to cooperate in doing anything

         required by this Order, such party or counsel or both may be subject to sanctions.

         If the plaintiff does not timely file the required (or other) pretrial material, the

         case will be dismissed. If the defendant/third party does not timely file the

         required (or other) pretrial material, a default will be entered or the

         defendant/third party will not be permitted to present witnesses or exhibits at trial.

         Fines or other sanctions, if appropriate, may also be imposed under Rule 16(f).

         Failure to list a witness, exhibit, or deposition excerpt as required by this

         Order shall be grounds for exclusion of that evidence. This does not apply to

         testimony, exhibits, or deposition excerpts offered for impeachment; further, the

         use of unlisted witnesses, exhibits, or deposition excerpts for rebuttal shall be

         permitted if the attorneys could not have reasonably anticipated their need for that

         evidence.

   14.    Electronic Filing Procedures: This case has been designated for enrollment in

         the Electronic Case Filing System (CM/ECF). (For more information on the ECF

         system, please see http://www.txnd.uscourts.gov/filing/ecf.html). Now that the

         case is designated an ECF case, all documents must be filed electronically;

         however, the Court still requires that courtesy copies of dispositive motions (and

         accompanying briefs and appendices) be sent to Chambers. Proposed orders are

         required to be submitted with EVERY motion. (Modification to Local Rule

         7.1(c)). Proposed orders must be submitted via e-mail in a Word or WordPerfect-



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         compatible format as instructed in the CM/ECF system’s “Proposed Orders”

         Event.          The     proposed        orders   must      be       e-mailed    to:

         oconnor_orders@txnd.uscourts.gov. Include the case number and the document

         number of the referenced motion in the subject line.

   15.    Citations: All briefs filed with the Court shall comply with the most recent

         edition of The Bluebook: A Uniform System of Citation. Particularly, counsel are

         directed to provide, where applicable, the subsections of cited statutes, and to

         provide pinpoint citations when citing cases, i.e., provide the page where the

         stated legal proposition can be found. See Bluebook Rules 3.2-3.4 (Columbia

         Law Review Ass’n et al. eds, 20th ed. 2015) (regarding pinpoint citations and

         subsections). Furthermore, if a brief contains citations to unpublished opinions or

         to LEXIS, counsel must attach copies of those cases to the brief.

   16.    Notice: Each attorney of record and any unrepresented party must review and

         adhere to the Local Civil Rules of the Northern District of Texas, which may be

         accessed       at      http://www.txnd.uscourts.gov/rules/localrules/lr_civil.html.

         Additionally, each attorney of record and any unrepresented party must review

         and abide by the standards of litigation conduct for attorneys appearing in civil

         actions in the Northern District of Texas, as outlined in Dondi Properties Corp. v.

         Commerce Savings & Loan, 121 F.R.D. 284 (N.D. Tex. 1988) (en banc), which

         may be accessed at http://www.txnd.uscourts.gov/publications/index.html.

   17.    Inquiries: Questions relating to this scheduling order or legal matters should be

         presented in a motion, as appropriate. Questions regarding electronic notice or

         electronic case files shall be directed to the Help Desk at 1-866-243-2866. If any



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         electronic equipment is needed in the courtroom, notify Brian Rebecek, Fort

         Worth Division Manager, at 817-850-6613.

   SO ORDERED on this 21st day of October, 2021.



                                              _____________________________________
                                              Reed O’Connor
                                              UNITED STATES DISTRICT JUDGE




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